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 IN THE UNITED STATES DISTRICT COURT
 FOR THE SOUTHERN DISTRICT OF FLORIDA
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 ZHEJIANG DONGRI IMPORT & EXPORT                                            CM/ECF
 CO., LTD., d/b/a Pilot Optics,
                                     Plaintiffs,                            Civil Action No.:
          -against-                                                         20-CV-60114-RS
 NEOPTX LLC,
                                              Defendant.                    Hon. Rodney Smith, USDJ
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                        Declaration of Service of Motion for Default Judgment

         I, Richard E. Lerner, an attorney duly admitted to practice before the courts of the state of

 New York, declare under penalty of perjury pursuant to 28 USC 1746, that on this date, March 9,

 2020, I served plaintiff’s notice of motion for default and supporting declaration of Jean-Claude

 Mazzola upon defendant Neoptx LLC, by mailing same in a properly addressed envelope,

 deposited with the U.S. Postal Service, addressed to:

                           Neoptx LLC
                           3201 Commerce Parkway
                           Miramar, Florida 33025


 Dated: New York, New York
        March 9, 2020
                                                               MAZZOLA LINDSTROM, LLP


                                                               By: Richard E. Lerner, Esq.
                                                               1350 Avenue of the Americas, 2nd Floor
                                                               New York, New York 10019
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